                          UNITED STATES DISTRICT COURT
                  DISTRICT FOR THE MIDDLE DISTRICT OF TENNESSEE


 KAYLA GORE; JASON SCOTT; L.G.; and
 K.N.,

                            Plaintiffs,
                                                                  Civil Action No. 3:19-cv-328
                       v.
                                                                  Jury Trial Demanded
 WILLIAM BYRON LEE, in his official
 capacity as Governor of the State of
 Tennessee; and LISA PIERCEY, in her
 official capacity as Commissioner of the
 Tennessee Department of Health,

                            Defendants.


               PLAINTIFF L.G.’S MEMORANDUM OF LAW IN SUPPORT OF
                MOTION FOR LEAVE TO PROCEED PSEUDONYMOUSLY

        Plaintiff L.G. (hereinafter “Plaintiff”), by and through her undersigned counsel,

respectfully submits the following memorandum of law in support of her motion for leave to

proceed pseudonymously and for a protective order, in order to protect her identity from public

disclosure.

                                                  INTRODUCTION

        Plaintiff, a transgender woman born in Tennessee and living in Kentucky, is challenging

the constitutionality of Tennessee’s policy and practice of categorically barring transgender people

from correcting the gender marker on their birth certificates, consistent with their gender identity

(the “Birth Certificate Policy”).          She seeks an order of protection and leave to proceed

pseudonymously because disclosure of her identity, including her transgender status, could put her

at serious risk of harm and disclosure of her identity would cause her to sustain the injury that this

litigation seeks to avert.
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY



   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 1 of 13 PageID #: 56
        Plaintiff lives a private life and the fact that she is transgender is not publicly known,

outside of a limited number of people who are mostly close and personal relationships. Her

identity and transgender status are not known by people in her workplace and larger community.

While she has since been able to correct the gender marker on all of her identity documents aside

from her birth certificate, Plaintiff was forced to disclose her transgender status, via inaccurate

identity documents, to limited human resources personnel at her employer in order to secure that

employment.

        As a transgender woman, Plaintiff is a member of a stigmatized group that frequently

encounters discrimination, harassment, and even violent physical assault, including murder. A

person’s transgender status and medical history is highly personal, private information, the forcible

disclosure of which, as Plaintiff alleges in her complaint, violates her constitutional right to

privacy. Requiring transgender people whose identity and transgender status are not publicly

known, such as Plaintiff, to disclose their identities in court records in order to vindicate their

constitutional rights, including their fundamental right to privacy, subjects them to the very harms

they seek to remedy and prevent, and puts them at risk of significant harm, including

stigmatization, discrimination, harassment, and even violence.

        Accordingly, Plaintiff respectfully asks this Court for permission to bring this action under

an assumed name, under her initials, for the purpose of protecting her identity from public

disclosure. Plaintiff does not object to providing her actual name to Defendants and the Court,

though Plaintiff requests that the Court enter a protective order barring further dissemination of

her name and requiring that any documents containing her name be filed under seal. Finally, in

moving to proceed under a pseudonym and to seal any document revealing her true identity,



MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          2
   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 2 of 13 PageID #: 57
Plaintiff does not intend to prevent the public from observing the proceedings or rulings of this

court, but only to prevent disclosure of her identity.

                                                        ARGUMENT

        As a general matter, a complaint must usually state the names of all parties, Fed. R. Civ. P.

10(a), however, a court “may excuse plaintiffs from identifying themselves in certain

circumstances.” Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004). Indeed, “trial courts have

always been afforded the power to seal their records when interests of privacy outweigh the

public’s right to know.” In re Knoxville News-Sentinel Co., 723 F.2d 470, 474 (6th Cir. 1983)

(citations omitted). This court may excuse Plaintiff from filing under her own name if it finds that

her privacy interests outweigh the typical presumption of keeping judicial proceedings open. See

Porter, 370 F.3d at 560.1

        In evaluating a request for anonymity, “the court should carefully review all the

circumstances of a given case and then decide whether the customary practice of disclosing the

plaintiff’s identity should yield to the plaintiff’s privacy concerns.” Pl. B v. Francis, 631 F.3d

1310, 1316 (11th Cir. 2011) (citation and quotation omitted); see also Porter, 370 F.3d at 560;

Does I thru XXIII v. Adv. Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000); James v. Jacobson,

6 F.3d at 238; Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981); S. Methodist Univ. Ass’n of

Women Law Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979). Cf. Femedeer v. Haun,

227 F.3d 1244, 1246 (10th Cir. 2000) (noting that “it is proper to weigh the public interest in

determining whether some form of anonymity is warranted.”).




1
        The Supreme Court has implicitly endorsed the use of pseudonyms to protect plaintiffs’
privacy. See Roe v. Wade, 410 U.S. 113 (1973) (abortion); Doe v. Bolton, 410 U.S. 179 (1973)
(abortion); Poe v. Ullman, 367 U.S. 497 (1961) (birth control).
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          3
    Case 3:19-cv-00328            Document 7            Filed 04/24/19   Page 3 of 13 PageID #: 58
        The Sixth Circuit has identified four factors this Court should consider in determining

whether a plaintiff may proceed anonymously. See Porter, 370 F.3d at 560. The two factors

relevant here are (1) “whether the plaintiff[] seeking anonymity [is] suing to challenge

governmental activity,” and (2) “whether prosecution of the suit will compel the plaintiff[] to

disclose information ‘of the utmost intimacy.’”2 Id. Both factors weigh in Plaintiff’s favor.

        In addition, this Court may “issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense” upon Plaintiff’s motion for good cause

shown. Fed. R. Civ. P. 26(c). Here, Plaintiff’s substantial privacy interests provide good cause

for the protective order she seeks.

        A. Denial of the Motion to Proceed Pseudonymously Would Cause the Injury This
           Litigation Challenging a Governmental Policy Seeks to Avoid.

        Plaintiff is challenging a government policy, and Defendants are all governmental actors.

Specifically, she and other plaintiffs are challenging the constitutionality of Tennessee’s Birth

Certificate Policy and its enforcement by Defendants, as well as the burdens it places on the rights

of transgender people.

        One of Plaintiff’s claims is that Tennessee’s Birth Certificate Policy impermissibly violates

her constitutional right to privacy by forcing the disclosure of her identity and transgender status

and putting her at risk of serious harm. The remedy she seeks in her complaint is an order from

this court requiring the state to correct the gender marker on her birth certificate so that her

transgender identity is not revealed every time she produces her birth certificate, thus substantially

lessening the risk of harm. “Requiring [Plaintiff] to reveal h[er] identity would cause h[er] to




2
        The other two Porter factors are (1) whether the plaintiff is a child and (2) whether the
plaintiff’s identity would put her at risk of criminal prosecution. Neither is relevant here.
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          4
    Case 3:19-cv-00328            Document 7            Filed 04/24/19   Page 4 of 13 PageID #: 59
sustain the very same injury—i.e., a violation of h[er] privacy.” Foster v. Andersen, No. 18-2552-

DDC-KGG, 2019 WL 329548, at *2 (D. Kan. Jan. 25, 2019). It would be paradoxical and unjust

to require a plaintiff to disclose in public the very information she seeks to prevent from disclosure

through this case. “Justice should not carry such a high price.” Francis, 631 F.3d at 1319. The

Court should give due consideration to Plaintiff’s concerns about being forced to maintain the suit

in her own name. Id.

        Put simply, Tennessee’s Birth Certificate Policy constitutes governmental activity that is

being challenged on privacy grounds. The first Porter factor weighs heavily in favor of Plaintiff

proceeding pseudonymously. See Order, Ray v. Himes, No. 2:18-cv-00272-MHW-CMV (S.D.

Ohio Apr. 5, 2018) (Dkt. 9), at 2.

        B. Denial of the Motion to Proceed Pseudonymously Would Necessarily Require The
           Disclosure of Highly Sensitive and Personal Information.

        Plaintiff’s challenge to Tennessee’s Birth Certificate Policy is based on the need to protect

her from the disclosure of highly personal and sensitive information, namely, Plaintiff’s

transgender status and medical history. Specifically, the disclosure of Plaintiff’s identity would

mean the disclosure of her transgender status and diagnosis of gender dysphoria. However, courts

have recognized that a person’s transgender status is of an “excruciatingly private and intimate

nature” that “is really beyond debate” “for persons who wish to preserve privacy in the matter.”

Powell v. Schriver, 175 F.3d 107, 111 (2d Cir. 1999); see also Foster, 2019 WL 329548, at *2

(“the disclosure of C.K.’s identity would reveal matters of a highly sensitive and personal nature,

specifically C.K.’s transgender status and his diagnosed medical condition—gender dysphoria”);

Arroyo Gonzalez v. Rossello Nevares, 305 F. Supp. 3d 327, 333 (D.P.R. 2018) (holding that

“forced disclosure of a transgender person’s most private information,” that being “their

transgender status,” violates “their constitutional right to informational privacy”); Love v. Johnson,
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          5
   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 5 of 13 PageID #: 60
146 F. Supp. 3d 848, 856 (E.D. Mich. 2015) (finding that “requiring Plaintiffs to disclose their

transgender status . . . directly implicates their fundamental right of privacy.”), reconsideration

denied, No. 15-11834, 2016 WL 106612 (E.D. Mich. Jan. 10, 2016); K.L. v. State, No. 3AN-11-

05431 CI, 2012 WL 2685183, at *6 (Alaska Super. Ct. Mar. 12, 2012) (“The Court agrees that

one’s transgender[] status is private, sensitive personal information” and “is entitled to

protection.”). Simply put, one’s gender identity is “among the most intimate parts of one’s life.”

Doe v. Blue Cross & Blue Shield of Rhode Island, 794 F. Supp. 72, 74 (D.R.I. July 6, 1992).

“Disclosing that one is transgender involves a deep personal choice which the government cannot

compel, unless disclosure furthers a valid public interest.” Arroyo Gonzalez, 305 F. Supp. 3d at

333.

        Recognizing the highly personal and sensitive nature of a person’s transgender status,

courts have routinely allowed transgender litigants to proceed under pseudonym. See, e.g., Foster,

2019 WL 329548, at *2 (allowing transgender plaintiff challenging Kansas’s birth certificate

policy to proceed pseudonymously); Order, Ray v. Himes, at 2 (allowing transgender plaintiff

challenging Ohio’s birth certificate policy to proceed anonymously); Order, Arroyo Gonzalez v.

Rossello Nevares, No. 3:17-cv-01457-CCC (D.P.R. June 22, 2017) (Dkt. 25) (allowing

transgender plaintiff challenging Puerto Rico’s birth certificate policy to proceed

pseudonymously); F.V. v. Barron, 286 F. Supp. 3d 1131 (D. Idaho 2018); Doe v. D.C., No. CV

13-878 (RDM), 2016 WL 6088262 (D.D.C. Oct. 18, 2016); Love, 146 F. Supp. 3d 848; Doe v.

United Consumer Fin. Servs., 2001 WL 34350174 (N.D. Ohio Nov. 9, 2001); Blue Cross, 794 F.

Supp. at 74 (allowing transgender plaintiff to proceed pseudonymously because “[a]s a

transsexual, plaintiff’s privacy interest is both precious and fragile, and this Court will not

cavalierly permit its invasion”); McClure v. Harris, 503 F. Supp. 409 (N.D. Cal. 1980), rev’d on

MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          6
   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 6 of 13 PageID #: 61
other grounds, sub nom. Schweiker v. McClure, 456 U.S. 188 (1982); Doe v. McConn, 489 F.

Supp. 76, 77 (S.D. Texas 1980); Doe v. Alexander, 510 F. Supp. 900 (D. Minn. 1981).

        Moreover, Plaintiff’s complaint involves and reveals her diagnosis of gender dysphoria, a

medical condition. If this motion is not granted, this medical information will be released publicly.

See Herring v. Keenan, 218 F.3d 1171, 1175 (10th Cir. 2000) (concluding plaintiff “alleged a

violation of a constitutional right to privacy in the nondisclosure of information regarding one’s

HIV status by a government official”); cf. Doe v. Hartford Life & Acc. Ins. Co., 237 F.R.D. 545,

549 (D.N.J. 2006) (noting that “many courts have recognized pseudonym use” in cases involving

mental health). Accordingly, a medical condition such as gender dysphoria, which is highly

private information, warrants protection from disclosure. See Powell, 175 F.3d at 112

(“transsexuals are among those who possess a constitutional right to maintain medical

confidentiality.”).

        Based on the above, the Court should find Plaintiff’s privacy interest sufficient to proceed

anonymously.       Disclosure of Plaintiff’s identity and transgender status “would equate to a

disclosure of information ‘of the utmost intimacy.’” Order, Ray v. Himes, at 2 (quoting Porter,

371 F.3d at 560).

        C. Disclosure of Plaintiff’s Identity Would Expose Her to Stigmatization,
           Discrimination, Harassment, and Violence.

        Plaintiff has a credible fear that she will come to harm if her identity, including her

transgender status and related private medical information, becomes known to the public in

connection with this litigation against the State of Tennessee. Transgender persons publicly

identified as such risk hostility, harassment, and physical assault. These “fears are justified.”

Foster, 2019 WL 329548, at *2.


MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          7
   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 7 of 13 PageID #: 62
        Forced disclosure of transgender status “exposes transgender individuals to a substantial

risk of stigma, discrimination, intimidation, violence, and danger.” Arroyo Gonzalez, 305 F. Supp.

3d at 333. “There is no denying that transgender individuals face discrimination, harassment, and

violence because of their gender identity.” Whitaker ex rel. Whitaker v. Kenosha Unified Sch.

Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017); see also Powell, 175 F.3d at 111;

Adkins v. City of New York, 143 F. Supp. 3d 134, 139 (S.D.N.Y. 2015); Brocksmith v. United

States, 99 A.3d 690, 698 n.8 (D.C. 2014). As one court acknowledged, “there exist numerous

documented instances of those targeted for violence based on their sexual orientation or gender

identity.” In re E.P.L., 891 N.Y.S. 2d 619, 621 (Sup. Ct. 2009) (noting that although petitioner

did not describe a history of violence against himself personally, his fear based on other known

instances of violence against transgender persons was a valid reason for allowing his name change

without publication).

         These risks are especially acute for women who are transgender, like Plaintiff. In a recent

survey of transgender people across the United States, 18% of transgender women had lost a job

because of their gender identity, 38% had been physically attacked and 21% had been sexually

assaulted in school on account of being transgender, and 48% had been subjected to unequal

treatment, verbally harassed, and/or physically attacked in the past year. See Sandy E. James, et

al., Nat’l Ctr. for Transgender Equality, The Report of the 2015 U.S. Transgender Survey (2016),

at 133, 134, 150, 198, available at https://perma.cc/4KL5-XPE3. As a transgender woman,

Plaintiff is a member of a particularly vulnerable community, and publicly revealing her identity

and her transgender status would increase her risk of experiencing harm ranging from humiliation

and discrimination to harassment or even physical violence. This fear is well-founded and based



MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          8
   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 8 of 13 PageID #: 63
on the widespread and well-documented hostility towards transgender women—as well as

animosity that Plaintiff herself has experienced.

        These considerations are even more acute for transgender people in Tennessee or

Kentucky, like Plaintiff. There is no question that transgender people living in Tennessee or

Kentucky face particularly high rates of discrimination, harassment, and violence. For example,

31% of Tennessean and 21% of Kentuckian transgender people who have shown an identity

document with a name or gender that did not match their gender presentation report having been

verbally harassed, denied benefits or service, asked to leave, or assaulted. Nat’l Ctr. for

Transgender Equality, 2015 U.S. Transgender Survey: Tennessee State Report (2017), at 3,

available at https://perma.cc/AX4Z-SF64; Nat’l Ctr. for Transgender Equality, 2015 U.S.

Transgender Survey: Kentucky State Report (2017), at 3, available at https://perma.cc/FP8R-

LL65.

        Because of the documented stigma that transgender people experience and the risks they

face based on their transgender status, courts regularly allow transgender plaintiffs to proceed

under pseudonym. See, e.g., Foster, 2019 WL 329548, at *2; Bd. of Educ. of the Highland Local

Sch. Dist. v. U.S. Dep’t of Educ., No. 2:16-cv-524, 2016 WL 4269080, at *5 (S.D. Ohio August

15, 2016) (allowing minor transgender plaintiff to proceed as Jane Doe and recognizing that “some

courts have allowed non-minor transgender plaintiffs to proceed anonymously due to the social

stigma associated with their gender identity”); Doe v. City of Detroit, No. 18-cv-11295, 2018 WL

3434345, at *2 (E.D. Mich. July 17, 2018) (“Several courts have held that an individual’s

transgender identity can carry enough of a social stigma to overcome the presumption in favor of

disclosure”); Blue Cross, 794 F. Supp. at 75 (granting transgender plaintiff’s request to proceed



MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          9
   Case 3:19-cv-00328             Document 7            Filed 04/24/19   Page 9 of 13 PageID #: 64
anonymously because “[a]s a transsexual, plaintiff’s privacy interest is both precious and fragile,

and this Court will not cavalierly permit its invasion”).

        Plaintiff has alleged that the disclosure that would result from denying her motion would

place her at risk of serious harm. Based on the above, her fears are reasonable, and the harm

threatened is severe. Her requested protective order is necessary to safeguard not only her privacy,

but also her safety.

        D. Granting Plaintiff’s Motion Would Cause No Prejudice to Defendants.

        The Sixth Circuit also directs courts to consider whether defendants will have sufficient

information to fully defend the case if a plaintiff’s requested protective order is issued. See Porter,

370 F.3d at 560. Where knowledge of the plaintiff’s identifying information may be necessary to

the defendant’s ability to present a defense, the trial court may order that plaintiff’s identity be

disclosed to the defendant but limit disclosure of the plaintiff’s personal information to the public.

See id. at 560-61.

        Here, Plaintiff merely seeks an order that would limit disclosure of her personal

information to the public – she does not seek to withhold her identity from Defendants or the Court.

Allowing Plaintiff to proceed under pseudonym under these conditions will not prejudice

Defendants, who will have access to Plaintiff’s name and will only be barred from using or

disclosing Plaintiff’s name to the public or outside the litigation. Thus, the proposed protective

order would not hamper the Defendants’ ability to present a defense. As in Porter, “it is unclear

how [the Court’s grant of the protective order] would . . . hinder[] [the Defendant’s] preparation”

of the case because the Defendants here would still be able “to obtain all the necessary information

to address” the issues in this case without public disclosure of Plaintiff’s identity. Id. at 561.



MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          10
  Case 3:19-cv-00328             Document 7             Filed 04/24/19   Page 10 of 13 PageID #: 65
                                                    CONCLUSION

        Disclosure of Plaintiff’s identity and status as a transgender person carries a real and

substantial risk of harm. Plaintiff should not be required to risk exacerbating the very harms she

is attempting to alleviate through this litigation. A protective order is thus necessary to prevent

Plaintiff from the involuntary disclosure of sensitive personal and medical information,

harassment, discrimination, or physical harm. Plaintiff’s privacy interests significantly outweigh

any public interest in knowing her identity, and a protective order would not prejudice Defendants’

ability to defend themselves. For these and foregoing reasons, Plaintiff respectfully moves this

court to grant her motion to proceed pseudonymously under her initials and enter the Proposed

Order of Protection filed contemporaneously with Plaintiff’s motion.




MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          11
  Case 3:19-cv-00328             Document 7             Filed 04/24/19   Page 11 of 13 PageID #: 66
Dated: April 23, 2019

                                                          Respectfully submitted,

                                                          s/John T. Winemiller
  Stuart C. Plunkett*                                     John T. Winemiller (TN 021084)
  BAKER BOTTS L.L.P.                                      MERCHANT & GOULD
  101 California Street, Suite 3600                       9717 Cogdill Road, Suite 101
  San Francisco, CA 94111                                 Knoxville, TN 37932
  Phone: (415) 291-6200                                   Phone: (865) 380-5960
  Facsimile: (415) 291-6300                               Facsimile: (612) 332-9081
  stuart.plunkett@bakerbotts.com                          JWinemiller@merchantgould.com

  Maddy Dwertman*                                         Omar Gonzalez-Pagan*
  BAKER BOTTS L.L.P.                                      LAMBDA LEGAL DEFENSE AND
  98 San Jacinto Boulevard, Suite 1500                       EDUCATION FUND, INC.
  Austin, TX 78701-4078                                   120 Wall Street, 19th Floor
  Phone: (512) 322-2500                                   New York, NY 10005-3919
  Facsimile: (512) 322-2501                               Telephone: (212) 809-8585
  maddy.dwertman@bakerbotts.com                           Facsimile: (212) 809-0055
                                                          ogonzalez-pagan@lambdalegal.org
  Brandt Thomas Roessler*
  BAKER BOTTS L.L.P.                                      Tara L. Borelli*
  30 Rockefeller Plaza                                    LAMBDA LEGAL DEFENSE AND
  New York, NY 10112-4498                                    EDUCATION FUND, INC.
  Phone (212) 408-2500                                    730 Peachtree Street NE, Suite 640
  Facsimile: (212) 408-2501                               Atlanta, GA 30318-1210
  brandt.roessler@bakerbotts.com                          Telephone: (404) 897-1880
                                                          Facsimile: (404) 897-1884
  Kathryn S. Christopherson*                              tborelli@lambdalegal.org
  BAKER BOTTS L.L.P.
  1001 Page Mill Rd., Bldg. One, Suite 200                Sasha Buchert*
  Palo Alto, CA 94304-1007                                LAMBDA LEGAL DEFENSE AND
  Phone: (650) 739-7500                                      EDUCATION FUND, INC.
  Facsimile: (650) 739-7699                               1776 K Street NW, Suite 722
  kathryn.christopherson@bakerbotts.com                   Washington, DC 20006
                                                          Telephone: (202) 804-6245
  * Application for admission pro hac vice                sbuchert@lambdalegal.org
  forthcoming.




MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          12
  Case 3:19-cv-00328             Document 7             Filed 04/24/19    Page 12 of 13 PageID #: 67
                                      CERTIFICATE OF SERVICE

        I hereby certify that on April 24, 2019 I filed the foregoing Plaintiff L.G.’s Memorandum

of Law in Support of Motion for Leave to Proceed Pseudonymously electronically through the

Court’s CM/ECF system. Parties may access this filing through the Court’s system. In addition, a

process server will serve via hand-delivery a copy of this document on the defendants, William

Byron Lee and Lee Piercey, along with the Summons and Complaint.

                                                        s/ John T. Winemiller
                                                        John T. Winemiller




MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PROTECTIVE ORDER AND FOR LEAVE TO PROCEED ANONYMOUSLY
                                                          13
  Case 3:19-cv-00328             Document 7             Filed 04/24/19    Page 13 of 13 PageID #: 68
